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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                             Case No. 22-cr-184 flIIMW)

 UNITED STATES OF AMERICA,

                        Plaintiff,

         V.                                           PLEAAGREEMENT AND
                                                      SENTENCING STIPULATIONS
ABDIMAJID MOHAMUD ELMI,

                        Defendant.


         The United States of America and Abdimajid Mohamud Elmi (hereinafter

referred to as the "Defendant") agteeto resolve this case on the terms and conditions

that follow. This plea agreement binds only the Defendant and the United States

Attorney's Offi.ce for the District of Minnesota. This agreement does not bind any

other United States Afforney's Office or any other federal or state agency.

         1.      Charges. The Defendant agrees to plead guilty to Count 1 of the

Information, which charges the Defendant with False Statement in violation of         18


U.S.C. $ 1001. The United States agrees not     to   chargethe Defendant with any other

crimes associated wittr the conduct described herein, including wire fraud.

         2.      Factual Basis. The parties agree on the following factual basis as to

Count 1 of the Information. The Defendant stipulates andagrees that were the matter

to go to ffial, the United States would prove the following facts beyond a reasonable

doubt.

              a. At all relevant times, the Defendant lived in the State and District of
                 Minnesota andwas an independent contractor for a trucking company.
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b.                                had jurisdiction over the investigation of
     At all relevant times, the FBI
     misuse and fraudulent procurement of Economic Injury Disaster Loans
     (ErDL).

     On or about J:uly 7,2020, the Defendant applied for an EIDL from the
     Small Business Administration (SBA) related to the COVID-l9
     pandemic. EIDLs are loans with generous interest rates and payback
     periods meant to assist existing small businesses recover from disasters.
     EIDLs must be spent on business expenses and are not for personal use.
     The Defendant promised in the loan agreement that he would use the
     money as required.

d. The Defendant was approved for $150,000 and received the deposit (for
   $149,900) in his Wells Fargo checking account on July 9, 2020. }Jis
   account was overdrawn by $9Al at the time of the deposit. F'rom July 10
   through July 12, the Defendant spent a total of about $54,852 at
   Horseshoe Casino in Council Bluffs, Iowa. He then moved on to
   Hollywood Casino outside of Columbus, Ohio, where he spent another
   $19,988 on July 15. On July 16 through 20,the Defendant spent about
   $55,000 at Mystic Lake Casino. On July 20, 2020, the Defendant's
   account balance was overdrawn by $802.

     On or about April 24,202I, the Defendant requested another $100,000
     loan from the SBA, called a "modification" to his existingloan. The SBA
     approved his request.

     On May 4, 202I, two agents from the FBI interviewed the Defendant
     about his $150,000 EIDL loan he received n 2020. The Defendant
     claimed he spent the "majority" of the loan on his business and admitted
     he knew it was to be used for business expenses. When questioned about
     his bank records and the gambhng they showed, the Defendant said that
     his Comdata records (the accounting system used at his trucking
     company to settle expenses and payments) would show him using the
     money legitimately.

(f   The Defendant did not spend the majorrty of the loan on his business,
     rather he spent essentially all of the EIDL money on gambling. The
     Defendant's Comdata records did not show him using any of the EIDL
     money on his trucking business. The Defendant knew his statements to
     the conffary on May 4, 2020, were false and he knowingly and
     intentionally made these false statements to try to convince the FBI he
     had not done anything wrong.
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        h. The Defendant admits that his false statements regardtng how he spent
           the EIDL money and what his Comdata rccords would show were
           material because they were capable of influencing the FBI in its
                investigation of the Defendant.


     Other relevant condua and additionalfacts:

        i.      In April 2027, the Defendant also applied for a Payment Protection
                Prcgram €PP) loan, another avenue through which the govemment
                offered COVID economic relief. This was granted and in May 2021the
                Defendant received $20,833. The Defendant spent the majority of this
                PPP money on gambling.

        i.      On July L5,2)27,the SBA and the Defendant signed the agreement for
                the $100,000 modification the Defendanthadrequested in April. Again,
                the Defendant promised he would use the money for authorized business
                expenses. On July 20,202L, the SBA wired the Defendant $100,000 to
                his Wells Fargo account. As soon as the money was deposited, the
                Defendant began spending it on gambhng agatn The same day,Iuly 20,
                202L, he withdrew more than $38,000 from ATM, branch withdrawals,
                 and card purchases at Canterbury Downs raceffack and the adjacent
                Wells Fargo. The next day, the Defendant spent another $30,000 at
                Canterbury Downs. On JuLy 22, 202L, he made another $21,000 in
                purchases at Carrterbury Downs, drawing his account balance down to
                $5.33. The Defendant had over-drafted his account by $657 by spending
                most of the money at Canterbury Downs.

           k. On JvIy 28,2021, the Defendant requested another loan modifi.cation,
                this one seeking another $150,000. The SBA initially accepted this second
                modification, but eventually Iearned of the FBI investigation and put a
                 fraud alert on the Defendant's account before it was funded.

           1.   The Defendant's Comdata records show that he never put anything into
                hisbusiness expenses throughthat system. Indeed, atthe time he received
                the loans, the system lacked the ability for a conffactor to put money onto
                their Comdata card or into ttreir account.

      3.        Waiver of Indicfinent. The Defendant agrees to waive indictment by a

gandjury on this charge and to consent to the filing of a criminal information. The
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Defendant further agrees to execute a written waiver of the right to be indicted, by a

gtandjury on this offense.

       4.     Waiver of Pretrial Motions. The Defendant understands and        agrees   that

he has certain rights to file pre-ftial motions in this case. As part of this Agreement,

and based upon the concessions of the United States, the Defendant knowingly,

willingly, and voluntarily gives up the right to file pre-trial motions.

       5.     Waiver of Constitutional Trial Rights. The Defendant understands

that he has the right to plead not guilty and go to trial. At trial, the Defendant would

be presumed innocent, have the right to a jury trtal or,in certain circumstances, to    trial

by the Court, the right to the assistance of counsel, the right to confront and cross-

examine adverse witnesses, the right to subpoena witnesses to testifii for the defense,

the right to testiflr and present evidence, artdthe right to be protected from compelled

self-incrimination. By pleading guilty, the Defendant knowingly, willingly, and

voluntarily waives each of these rights, except the right to counsel. The Defendant

understands that by pleading guilty, he is admitting his guilt, and, if the Court accepts

the guilty ptea, he will be adludged guilty without atrral.

       6.     Collateral Consequences. The Defendant understands that because of

this conviction, he couldbe assessed the costs ofprosecution and experience additional

consequences, such as the loss of the right to possess firearms, the right to vote, the

right to hold public offi.ce, and the eligibility for federal benefits.
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       7,      Statutory Penalties. The parties agrce that Count 1 of the Information

carries statutory penalties of:

               a.     a maximum term of five years in prison;

              b.      a supervised release term of one to three years;

              c   .   a criminal fine of up to $250,000;

               d      amandatory special assessment of $100.00; and,

              e.      restitution to the victims of the Defendant's crime.

       8.     Revocation of Supervised Release. The defendant understands that            if
he were to violate any supervised release condition while on supervised release, the

Court could revoke the defendant's supervised release, and he could be sentenced to

an additional term of imprisonment up to the statutory maximum set forth in              18


U.S.C. $ 3583(e)(3).    ,See   U.S.S.G. $$ lBI.4,7BL.5. The defendant also understands

that as part ofany revocation, the Court may include a requirement that he be placed

on an additional term of supervised release after imprisonment, as set fofth in          18


u.s.c.   $ 3s83(h).

       9.      Guideline Calculations., The parties acknowledge that the Defendant

will be sentenced in accordance with       18 U.S.C. $ 3551, et seq. Nothing    in this plea

agreement should be consffued to limit the parties from presenting arly and alTrelevant

evidence to the Court at sentencing. The parties also acknowledge that the Court        will

consider the United States Sentencing Guidelines           in determining the   approprLate

sentence and stipulate to the following guideline calculations:



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a.   Base Offense Level: The parties agree that the base offlense level for
     False Statement is 6. U.S.S.G. S 2BL.l(a)(2).

b.   Specific Offense Characteristics:

        i.   The parties agree that the offense leve1 should be increased by an
             additional 12 levels because the loss amount is over $250,000.
             u.s.s.G. $ 281. 1OX1XG).

       ii.   The parties agree that no other specific offense characteristics
             apply.

c. Chapter Three Adjusffients:
        i.   Acceptance of Responsibility: The parties agtee that if the
             Defendant (1) provides full, complete, and truthful disclosures to
             the United States Probation Offi.ce, including financial
             information; (2) testifies truthfully during the change of plea and
             sentencing hearings; (3) complies with this agreement; and
             (4) undertakes no act inconsistent with acceptance of
             responsibility before the time of sentencing, they will recommend
             that the Defendant receive a three-level reduction for acceptance
             of responsibility under U.S.S.G. $ 3E1.1(a) and (b).

       ii.   The parties agree that no ottrer Chapter 3 adjustments apply.

The Defendant's total adjusted offense level is 15 (6 + 12 - 3 = 15).

d. Criminal History Categor.v.     Based on information avatlableat this time,
     the parties believe that the Defendant's criminal history category is [.
     U.S.S.G. $$ 4A1 .7 and4A1.2. This does not constitute a stipulation, but
      abeltefbased on an assessment ofihe information currently known. The
     Defendant's actual criminal history and related status (which might
     impact the advisory range of imprisonment) will be determined by the
     Court based on the information presented in the Presentence Report and
     by the parties at the time of sentencing. If it is determined that
     Defendant's criminal history is greater than I that will not be a basis to
     withdraw from this plea agreement.

e. Advisor.v Guideline Range. If the adjusted offense level is 15, and the
   criminal history category is I, then the advisory Guidelines range is 18-
     24months of imprisonment. U.S.S.G., Chapter Five, Part A.
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         f.   Fine Range. If the adjusted offense level is 15, the finerange is $7,500
              to $75,000. U.S.S.G. $ 5E1.2(cX3).

         g.   Supervised Release. The Sentencing Guidelines requre a term of
              supervised release of at least one year and up to ttree years. U.S.S.G. $$
              sD1.2(bX2) and sDr.2(c);18 U.S.C. $ 3s83(k).

         h.   Sentencing Recommendation and Departures. The parties reserve the
              right to make a motion for deparf,xes from the applicable Guidelines
              range and to oppose any such motion made by the opposing parry. The
              parties reserve the right to argue for a sentence outside the applicable
              Guidelines range.

      10.     Discretion of the Court. The foregoing stipulations are binding on the

parties, but do not bind the    Court. The parties understand that the Sentencing
Guidelines are advisory and their apphcatron is a matter that falls solely within the

Court's discretion. The Court may make its own determination regarding the

applicableGuidelines factors and the apphcablecriminal history category. The Court

may also depafi. from the applicable Guidelines runge. If the Court determines that

the applicable guideline calculations or the Defendant's criminal history category are

different from that stated above, the parties may not withdraw from this agreement,

and the Defendant   willbe sentenced pursuant to ttre Court's determinations.

      11.     Special Assessment. The Guidelines require payment          of a   special

assessment in the amount of $100.00 for each felony count of which the Defendant is

convicted. U.S.S.G. $ 5E1.3. The Defentdant agrees to pay the $100.00 special

assessment at the time of sentencing.
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       12.      Restitution. The parties   agree that the Court shall order the Defendant

to pay restitution to the victims of his crime.   See 18   U.S.C. $ 3663A. The Defendant

further agrees and commits pursuant to 18 U.S.C. $ 3663A(a)(3) to pay the amount of

restitution ordered by the Court.

       The parties agree that the Defendant owes at least $278,833 in restitution

consisting of the $20,833 to Benworth Capital (the PPP lender) and $250,000 to the

Small Business Administration. Interest on one or both amounts may apply.

       The Defendant represents that he will fully and completely disclose to the

United States Attorney's Office the existence and location of any assets in which the

Defendant has any right, title, or interest. The Defendant agr€es"to assist the United

States in   identiffing, locating, returning, and ffansferring   assets for use in payment   of

restitution and fines ordered by the Court.

      Within L4 days of entering his plea, the Defentlant furtHdr agrees that he will

provide the United States, under penalty of perjury, aftnancial disclosure form listing

all the Defendant's assets and fnancial interests valued at more than                $1,000.

Defendant agrees to provide updates with any material changes in circumstances,              as


described    in 18 U.S.C.   $ 3664(k), which occur prior to sentencing,   within seven days

of the event giving rise to the changed circumstance. The Defendant                expressly

authorrzes the U.S. Attomey's Office to obtain a credit report on him to evaluate the

Defendant's ability to satisf,i any financial obligation imposed by the Court.

       13.      'Waivers of Appeal and Collateral       Affack. The Defendant hereby
waives the right to appeal any non-jurisdictional issues. This appealwaiver includes,
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but is not limited to, the Defendant's waiver of the right to appeal guilt or innocence,

sentence and restitution, and    the constitutionality of the statute to which       the

Defendant is pleading guilty. The parties agree, however, that excluded from this

waiver is an appeal by the Defendant of the substantive reasonableness of a term of

imprisonment above 24months. The Defendant also waives the right to petition under

28 U.S.C. 5 2255, except based upon a claim of ineffective assistance of counsel. The

Defendant has discussed these rights with the Defendant's attomey. The Defendant

understands the rights being waived, and the Defendant waives these rights knowingly,

intelligent$, and voluntarily

      The United States age:s to waive its right to appeal any sentence, exceptthat

the government may appeal the substantive reasonableness of a sentence consisting     of

less than 18 months' imprisonment.

         L4.   FOIA Waiver. In gxchange for concessions made by the United States,

the Defendant hereby waives all . rights to obtain, direct$ or through           others,

information about the investigation and prosecution of this case under the Freedom of

Information Act (FOIA) (5 U.S.C. $ 552) and the Privacy Act of 1974 (5 U.S.C.          $


sszA).
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      15.    Complete Agreement. This Agreement, along with any agreement

signed by the parties before entry of aptea, is the entire agreement and understanding

between the United States and the Defendant.




Date: October 12.2022                          ANDREWM. LUGER
                                               United States Attomev


                                                            Hudleston
                                       BY:     SARAH E. HUDLESTON
                                               -slSarah
                                               Assistant United States Attorney




Date: October   fl, rrD



Date: October ?d ,2022




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